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                UNITED STATES DISTRICT COURT
                                  District of Kansas
                                 (Kansas City Docket)


UNITED STATES OF AMERICA.

                           Plaintiff,

                                                         CASENO.         21.2OO6O.JAR-JPO
                                                         Filed Under Seal

KAABA MAJEED,
YUNUS RASSOUL, a.k.a. Yunus Rassoull,
JAMES STATON, a.k.a. Adam Winthrop,,
RANDOLPH RODNEY HADLEY,
DANIEL AUBREY JENKINS,
DANA PEACH,
ETENIA KINARD, a.k.a. Etenia Kinnard, and
JACELYN GREENWELL,

                           Defendants.




                                 INDICTMENT

      THE GRAND JURY CHARGES:

                                        Introduction

      At all times material to the indictment:

       I   .   United Nation of Islam (IJNOI) was an organization that was founded by

Royalt Jenkins ("Jenkins"). Contrary to the teachings of the Islamic faith, Jcnkins

represented that he, himself, was Allah, or   God. Jenkins claimed that in approximately




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1978, he was abducted by angels who transported him through the galaxy in a spaceship

and instructed him how to rule on Earth.

       2.     Jenkins began gathering members in Maryland but later moved the IINOI

headquarters in the late 1990s to Kansas City, Kansas, where the organization continued to

grow in membership. TINOI eventually grew to include hundreds of members.

       3.     United Nation   of Islam, Inc. was   incorporated   in   1999   in the State of

Louisiana with Jenkins as its President and defendant JAMES STATON, a.k.a. Adam

Winthrop ("STATON'), as its Secretary.

       4.     Over the years since its inception, UNOI has also been known as The Value

Creators and The Promise Keepers.

       5.    Jenkins led UNOI until approximately       2012. His responsibility was to

oversee ali activities of 1INOI and approve all decisions after consultation with his wives

and officials, who assisted him in managing UNOI operations.

       6.    Jenkins created, drove, and asserted INOI principles, which included rules

that members had to follow, required "duty" or unpaid labor, and emphasized the etemal

consequences of noncompliance.

       7.    UNOI operated locations or "temples" in various cities around the United

States, including but not limited to Kansas City, Kansas; New York, New York; Cincinnati,

Ohio; Atlanta, Georgia; Raleigh, North Carolina; and Newark, New Jersey. The term

"temple" did not denote any specific building, physical structure, or house of worship, but



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rather referenced a geographic area where UNOI operated businesses or where a significant

numbcr   o1-   members rcsided.

       8.        LINOI had a national and local organizational structure. Nationally, there

was a Secretary, Lieutenant, and Minister, as well as other specialized positions, such as a

leader who oversaw the youth or         men. I-ocal leadership of each individual "temple"

generally mirored the national leadcrship structure. such that each individual "temple" had

a local Secretary, Lieutenant, and Minister, as well as a position referred to as Captain.

Jenkins appointed these officials.

       9.        Jenkins was the overall leader, referred to within the organization as "Allah,"

or "Father." STATON helped grow the organization along with Jenkins and became

National Secretary. Delendants KAABA MAJEED ("MAJEED"), YUNUS RASSOUL

("R{SSOUL"). RANDOLPH RODNEY HADLEY ('IIADLEY"). and DANIEL

AUBREY JENKINS ("A[IBRXY") also quickly rose to official status within UNOI.

MAJEED became National Lieutenant: RASSOUL               bccame National Minister:    HADLEY

became a Captain; and AUBRXY oversaw the male membership. Def'endants                  ETENIA

IflNARD ("KINARD"). DANA PEACH ("PEACH").                     and   JACELYN GRLENWELL

f'GREENWELL")           rvcre tfuee o1'Jcnkins's man1, wivcs.   KINARD and GREENWELL

oversaw the youth membership.         All ol the defendants assisted Jenkins in managing     the

organization.

       10.        I-NOI opened and operated at least ten businesses around the United      States


that were staffed entirely by unpaid UNOI members. These businesses were primarily

reslaurants and bakeries, but also included other businesses such as a gas station and

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clothing store. UNOI required members to staff these businesses as part of their "duty,"

and did not pay these members, many of whom were minor children or young adults.

LrNOI operated businesses in Kansas City, Kansas; Newark, New Jersey; New York, New

York; Wichita, Kansas; Cincinnati, Ohio; Dayon, Ohio; Temple Hills, Maryland;

Baltimore, Maryland; Atlanta, Georgia; New Haven, Connecticut; Hamden, Connecticut;

Durham, North Carolina; Mobile, Alabama; and elsewhere.

       11.    UNOI recruited hundreds of full-time and part-time members. Full-time

members lived in housing provided by UNOI and worked without pay at fINOI businesses.

Part-time members lived and worked outside of TINOI but donated financially to IINOI.

UNOI employed without pay many children who joined with their parents or were bom to

parents who were already members of the organization.

       12.    UNOI encouraged many adult members to send their children to Kansas

City, Kansas for the purpose of attending a IINOI-run school and working in TINOI-

operated businesses. UNOI enticed parents to send their children by promising a fulsome

education and the development       of life skills through working in UNOl-operated
businesses. TINOI did not inform the parents that their children would work extended

hours, sometimes in lieu of attending school, or be sent to other    fNOI   businesses around

the country to work extended hours and receive no legitimate education.

       13.    IJNOI "dispatched" and transported the children of adult members around

the country to work at TINOI businesses. "Dispatching" was the practice of deciding that

youth members would move to and work in a specific location without pay, and then

transporting those youth members to that location, fypically without their paxents or other

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adult family members. UNOI housed these youth members with other non-familial adult

members or in lINOl-operated dormitories or barracks. IJNOI did not always tell the youth

members' parents where or when they were "dispatching" their children.

         14.    Each UNOI business had a manager, and each house or dormitory had an

adult member in charge. The members at each "temple" reported to the business and house

managers. These managers then reported to local officials, such as the First Lieutenant or

Captain, or sometimes directly to national oflicials such as the National Lieutenant.

         15.    The defendants required the youth members to live in crowded conditions,

follow   a very restricted diet, and   work long hours in lJNol-operated businesses.

Conversely, the defendants and their immediate families tlpically resided in spacious

accommodations, ate what they wanted, and worked at their own discretion.

                                             COUNT      I
                    CONSPIRACY TO COMMIT FORCED LABOR
                                          ll8 u.s.c.   $ 371I

         1,6.   On or about October 28, 2000 and continuing through November 30,2012,

in the District ofKansas and elsewhere, the defendants,

                                        KAABA MAJEED,
                       YUNUS RASSOULL, a.k.a. Yunus Rassoul
                       JAMES STATON, a.k.a. Adam Winthrop'
                          RANDOLPH RODNEY HADLEY,
                            DANIEL AUBREY JENKINS,
                                 DANA PEACH,
                      ETBNIA KINARD, a.k.a. Etenia Kinnard, and
                             JACELYN GREENWELL,

and others known and unknown to the Grand Jury, did knowingly conspire and agree

with each other to provide and obtain the labor and services ofone and more persons by

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threats of serious harm to, and physical restraint against, that person and another person;

by means ofany scheme, plan, and pattem intcnded to cause the person to believe that,            if
the person did not perlorm such labor and services, that person and another person would

suffer serious harm and physical restraint; and by means ofthe abuse and threatened

abuse of law and thc lcgal process, in violation   of   18   U.S.C. $ 1589.

                                 Obiect of the Conspiracy

       17.     The factual allegations in paragraphs         I   through 15 of this Indictment are

incorporated by ref-erence and realleged as though fully set forth herein.

       18.    The object of the conspiracy was lor the defendants, and others known and

unknown to the grand jury, to obtain the uncompensated labor and services ofat least one

victim in the District of Kansas and elservhere.

                           Manner and Means of the Conspiracy

       The manner and means by which the co-conspirators carried out the object ofthe

conspiracy included, but were not limited to, the following:

       19.    Although members could be any age, the defendants pdmarily relied on the

labor and services of young victims, many of whom were minors, to benefit finaricially.

UNOI compelled the labor and services of victims        as   young as eight years old.

       20.    The defendants very rarely allowed the victims to live with their parents.

They instead housed the victims in overcrowded dormitories, barracks, or households of

adult members who were not related to the victims.

       21.    Jenkins created rules   to control the victims while the other             defendants

enfbrced the rules

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         22.   The defendants controlled the whereabouts of all of the victims. The

defendants transported the victims to different cities on a regular basis, sometimes with

mere hours' notice.

         23.   Jenkins controlled what the members viewed and         read. He   generally

restricted victims to reading UNOI publications and did not allow outside newspapers or

books.

         24.   The defendants required the victims to dress in [JNOI-made clothing and use

l-INOl-produced toiletries. Victims had to make official requests for outside clothing or

toiletries, and the defendants routinely denied such requests.

         25.   The defendants also restricted communications. They often required the

victims to ask permission to speak, and prohibited victims from using certain words such

as "hello," and   "say." The defendants    generally prohibited victims from speaking to

members of the opposite sex, or to non-members, including non-members from their own

families. The defendants also controlled whether victims could speak to their families and

parents within IJNOI and often monitored those calls.

         26.   The defendants directed the victims to shower in a certain way and required

some victims to undergo colonics performed by adult members. A colonic is a procedure

designed to cleanse the colon by streaming gallons ol water through a tube inserted into

the rectum.

         27.   The defendants controlled the diet of their members, restricting many of the

victims to eat only bean soup, salad, and occasionally fruit. They also restricted many of

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the victims to two meals per day, or ordered them to "cleanse" by consuming only lemon

juice for days. The defendants required the victims, particularly female victims, to

maintain a certain weight. Jenkins's wives subjected female victims to weekly weigh-ins

where they would humiliate the victims for their weight and subsequently make them fast.

       28.    The defendants did not allow the victims to come and go freely from their

residences. With few exceptions, the defendants required the victims to be transported or

accompanied everywhere by a UNOI member, usually an official or trusted member.

       29.    The defendants rarely permitted victims to seek outside medical attention.

The defendants often denied victims medical attention altogether. When a defendant did

allow a victim to receive medical attention, they sent the victim to a doctor employed by

IINOI or to PEACH, who was not a licensed medical doctor. PEACH would then

personally "treat" the victims herself.

       30.    The defendants required the victims to perform "duty," which consisted      of

working long hours without pay in IJNOI-owned businesses such as bakeries, restaurants,

gas stations, a sewing factory, a factory that produced personal hygiene products, and

others. The defendants also required many victims to perform "duty" in households, such

as cleaning and   childcare. The defendants required some victims to work up to 16 hours

per day without compensation.

       31.    The defendants did not permit the victims to receive an accredited education

from a licensed school. IINOI ran its own unlicensed school known as the "University of

Arts and Logistics of Civilization" (UALC) in Kansas City, Kansas, in the District of

Kansas. Victims who lived in Kansas city, Kansas attended the UAIC but did not receive

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appropriate instruction in traditional subjects such as mathematics, reading, writing, and

sclence    The defendants denied the victims who lived outside of Kansas City, Kansas         of

any legitimate education, and required them to provide labor in lieu of attending school.

       32.     The defendants regularly conducted meetings with large groups of members

to humiliate the victims and other members who committed "intiactions." Infractions

included failing to follow rules or properly perform "duty," as well as innumerable other

offenses, such as stealing food. During these meetings. the delendants called victims to a

microphone in order to humiliate them by announcing their infraction and punishment to

other members.

       33.     The defendants regularly punished the victims who committed infractions.

The punishments included withholding fbod, silence, public humiliation. extra "duty," and

physical abuse. Physical abuse included hitting victims with a paddle, among other actions

       34.     The defendants instilted in the victims a fear of noncompliance and a fear     of

leaving UNOI and TINOI housing. The defendants promoted the idea that the victims

"owed a duty to Allah," which meant working at IINOI businesses. The defendants

convinced the victims that if they did not comply with the rules, including performing their

"duty," or ifthey left LINOI, they would bum in an "etemal hellfire" or experience tragedy.

                                        Overt Acts

       35. In furtherance of the conspiracy,         and   to   accomplish the object   of   the

conspiracy, at least one of the def'endants committed or caused to be commilted at least one

of the following overt acts, among others, in the District of Kansas, and elsewhere:



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       36.     In or about and between October 2002        and October 2003,     KINARD and

GREENWELL punished Minor Victim 1 C'MV- 1'), whose identity               is known to the grand


.jury, for buming a pie at the UNOl-operated bakery in Kansas by requiring MV-1 to make

extra pies and causing   MV-l to work until midnight.

       37.     On or about and between October 28, 2000 and December 31,2004,

AUBREY, MAJEED, and HADLEY used a paddle to hit Minor Victim 2 ('MV-2"),

whose identity is known to the grand jury, as punishment on multiple occasions in Kansas.

       38.     In or about and between 2003 and 2005, KINARD beat Minor Victim                 3


("MV-3"), whose identity    is known to the grand   jury, with an extension cord for neglecting

to throw out a diaper while MV-3 provided childcare in a IJNOI-run household.

       39.     On or about and between 2004 and 2006, RASSOUL refused to allow MV-

3 to seek proper medical attention and recuperate when      MV-3 fainted from fatigue   and   hit

MV-3's head on    a   brick floor while working at a restaurant that RASSOUL managed in

Connecticut.

       40.     In or about and between 2004 and 2006, STATON denied Minor Victim 4

C'MV-4), whose identity is known to the grand jury,       use of   MV-4's inhaler to treat MV-

4's diagnosed asthma when MV-4 lived and performed household work in his home,

located in Kansas.

       41.     In or about 2007, Jenkins and PEACH transported MV-l from Kansas to

New Jersey for the purpose of securing MV- I 's labor.

      42.      On or about and between October 28,2000 and December 3 1, 2008, Jenkins,

MAJEED, RASSOUL, AUBREY, STATON, KINARD, PEACH,                           ANd   GREENWELL

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made decisions about where in the country to move victims for labor. The defendants made

these decisions through in-person discussions that occurred in the District of Kansas or

through telephonic discussions in which some defendants were physically present in the

District of Kansas.

       43   .   On or about and between October 28, 2000 and December 3 1, 2008, Jenkins,

MAJEED, RASSOUL, AUBREY, STATON, KINARD, and GREENWELL

participated in meetings to decide which disciplinary action to impose on victims, such as

withholding food. The defendants made these decisions through either in-person

discussions that occurred in the District ofKansas or telephonic discussions in which some

defendants were physically present in the District ofKansas.

       44.      In or about 2008, MAJEED instructed victims to lie to customers about their

age and working status so that they could continue to work            in the restaurant that   he

managed in New York.

       45.      Beginning on or about October   28,,   2000 and continuing through on or about

December 31,2009,       all   dates being approximate and inclusive, GREENWELL was

responsible for youth-related matters. In this capacity, she made decisions about victims'

labor and services, as well as whether and how to discipiine victims.

        46.     Beginning on or about and October 28,2000 and continuing through on or

about December 31, 2009, AUBREY engaged in "Fruit                of Islam Beatdowns" or "FOI

Beatdowns"      in which he physically   abused male      LNOI    members as punishment for

infractions.



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       47.     In or about and between 2008 and 2009, MAJEED transported MV-3 lrom

Kansas to New Jersey for the purpose of securing MV-3's labor.

       48.     In or about and between 2008 and 2009, Jenkins announced to victims and

members that he had his daughter killed flor leaving I-NOI.

       49.     In or about and between 2008 and 2009 Minor Victim 5 ("MV-5"), whose

identity is known to the grand jury, and who was a local UNOI lieutenant in Kansas at the

time, observed HADLEY punish a member by knocking him unconscious in the District

of Kansas.

       50.     In or about and between 2008 and 2009. after MV-5 reported to Jenkins that

HADLEY had punished a member too harshly, Jenkins indicated that he agreed with

HADLEY'S punishrnent.

       51.     In or about and between 2008 and 2009, as a result of MV-5 reporting

HADLEY to Jenkins, MAJEED punished MV-5 by not allowing MV-5 to speak without

permission, requiring MV-5 to perlorm extra work hours, and stripping MV-5 of MV-5's

position as lieutenant.

       52.     In or about 2010, HADLEY transpoded Minor Victim 6 ("MV-6"). whose

identity is known to the grand jury, from Kansas to New Jersey for the purpose ofsecuring

MV-6's labor in a UNol-operated restaurant.

       53.     On or about and between 2005 and 201i, PEACH supervised UNOI

businesses in New Jersey and New    York. In her roles   as supervisor, she made decisions

about victims' labor and services, as well as whether and how to discipline victims.




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       54.    On or about and between October 28, 2000 and December 31, 2011,

KINARD was responsible for youth-related matters. In this capacity,               she made decisions

about victims' labor and services, as well as whether and how to discipline victims.

       55.    In or about and between 2003 and 2012, RASSOUL supervised a LrNOI-

operated restaurant   in Connecticut. In his role as supervisor, he made decisions                 about

victims' labor and services,   as   well   as whether and how      to discipline victims.

       56.    In or about and between 2005 and 2012, MAJEED supervised a UNOI

location   in New   Jersey where multiple victims and other                IINOI members lived in

overcrowded conditions, such as ten or more individuals in a bedroom.

       57. In or about and between 2007 and 2012, MAJEED and RASSOUL
supervised a IINOI-operated restaurant in North Carolina.

       58.    On or about and between October 28,2000 and January 2012, Jenkins,

MAJEED, RASSOUL, AUBREY, and STATON led meetings in which they publicly

chastised the victims and other individuals for violating UNOI rules. The defendants held

these meetings in the District of Kansas and elsewhere.

       59.    Beginning in or about October 28, 2000 and continuing through in or about

November 30,2012, all dates being approximate and inclusive, in the District of Kansas

and elsewhere, HADLEY used                 a   paddle on multiple occasions        to hit victims     as

punishment.

       60.    On or about and between October 28, 2000 and November 30, 2012,

MAJEED and RASSOUL supervised l,DtrOI                    businesses in Kansas. In their roles as




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supervisors, they made decisions about victims' labor and services, as well as whether and

how to discipline victims.

       61.    On or about and between October 28, 2000 and November 30,2012,

MAJEED and HADLEY engaged in "Fruit of Islam Beatdowns" or "FOI Beatdowns" in

which they physically abused male UNOI members       as   punishment for infractions.

       62.    On or about and between October 28,2000 and November 30, 2012, Jenkins

led and participated in meetings in which he addressed        INOI   members and discussed

l,TIllOI principles. Jenkins held these meetings in Kansas and elsewhere.

       63.    On or about and between January 1, 2005 and November 30, 2012,

MAJEED supe ised UNOI businesses in New Jersey and New York. In his role                 as


supervisor, he made decisions about victims' labor and services, as well as whether and

how to discipline victims.

       In violation of Title 18, United States Code, Sections 371 and 1589.

                               COUNTS 2 THROUGH 8

                                   FORCED LABOR
                                   ll8 u.s.c. s 1s891
       64.    Beginning on or about the dates listed below, and continuing through on or

about the corresponding dates indicated below, in the District ofKansas and elsewhere.

the below-named defendants, and others known and unknown to the Grand Jury, aiding

and abetting each other and others, did knowingly provide and obtain the labor and

services ofthe victims referenced in each respective count below, whose identities are

known to the grand jury, by threats ofserious harm to, and physical restraint against, that


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person and another person; by means of any scheme. p1an, and pattern intended to cause

the person to believe that, if the person did not perform such labor and services, that

person and another person would suffer serious harm and physical restraint; and by

means ofthe abuse and threatened abuse of law and the legal process, and attempted to

do so:




                                                                   APPROXIMATE DATES OF
  COUNT           \rICTIM                DEFENDANTS                    FORCED LABOR

     2              MV-3             Kaaba Majeed, Yunus            October 28, 2000-August    31 ,
                                     Rassoul, James Staton,                    2012
                                      Dana Peach, Etenia
                                   Kinard, Jacelyn Greenwell


     J              MV-7             Kaaba Majeed, Yunus           October 28, 20O0-February 28,
                                     Rassoul, James Staton,                    2012
                                     Etenia Kinard, Jacelyn
                                           Greenwell


     4              MV-8             Kaaba Majeed, James          October 28, 2000-November 30,
                                     Staton, Etenia Kinard,                    2012
                                       Jacelyn Greenwell


     5              MV-9             Kaaba Majeed, Yunus          October 28, 2000-November 30,
                                     Rassoul, James Staton,                    2012
                                     Daniel Aubrey Jenkins


     6             MV.1O              Kaaba Majeed, James          January 1, 2001-November 30,
                                    Staton, Randolph Rodney                    2012
                                     IIadley, Etenia Kinard




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        7                MV-5             Kaaba Majeed, James            January   l,   2002-November 30,
                                        Staton, Randolph Rodney                          20ll
                                         Hadley, Daniel Aubrey
                                       Jenkins, Jacelyn Greenwell


        8                MV-,1            Kaaba Majeed, James           January    l, 2004-March   31, 2012
                                        Staton, Randolph Rodney
                                                 Hadlev




            In violation of Title 18, United States Code, Sections 1589,1594(a), &.2.

                                    FORFEITURE NOTICE

            65.   The allegations contained in Counts 1-8 ofthis Indictment are hereby

realleged and incorporated by reference for the purpose ofalleging forfeiture pursuant to

Title   18, United States Code, Section 1594.

            66.   Upon conviction ofone or more ofthe offenses set forth in Counts 1-8, the

defendants shall forfeit to the United States of America, pursuant to Title 18, United

States Code, Section I 594, (l ) any property, real or personal, involved in, used, or intended to

be used to commit or to facilitate the commission of the offenses, and any property traceable to

such property; and (2) any property, real or personal, constituting or derived from, any proceeds

obtained, directly or indirectly, as a result ofthe offenses, and any property traceable to such

property. The property to be forfeited includes, but is not limited to, the following:

                  A. A forfeiture money judgment against defendant Kaaba Majeed in an
                  amount equal to the amount ofgross proceeds obtained or derived by him
                  from the commission of Counts 1-8;

                  B. A forfeituremoney judgment against defendant Yunus Rassoul in an
                  amount equal to the amount ofgross proceeds obtained or derived by him
                  fiom the commission of Counts 1,2,3, and 5;


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              C. A forfeiture money judgment against delendant James Staton in an
              amount equal to the amount ofgross proceeds obtained or derived by him
              liom the commission of Counts 1-8:

              D. A forfeiture money judgment against def'endant Randolph Rodney
              Hadley in an amount equal to the amount ofgross proceeds obtained or
              derived by him from the commission of Counts 1, and 6-8;

              E. A lorfeiture money judgment against defendant Daniel Aubrey Jenkins
              in an amount equal to the amount ofgross proceeds obtained or derived by
              him from the commission of Counts 1, 5. and 7;

              F. A forfeituremoney judgment against defendant Dana Peach in an
              amount equal to the amount ofgross proceeds obtained or derived by her
              from the commission of Counts 1 and 2:

              G. A forfeiture money judgment against defendant Etenia Kinard in                 an
              amount equal to the amount ofgross proceeds obtained or derived by her
              liom the commission of Counts 1,2.3.4, and 6:

              H. A forfeiture money judgment against defendant Jacelyn Greenwell in
              an amount equal to the amount ofgross proceeds obtained or derived by her
              lrom the cornrnission ofCounts 1,2,3.4, andll.


       67.    Ifany ofthe property described above,   as a result   ofany act or omission of

the defendants:

              A.    cannot be located upon the exercise ofdue diligence;

              B     has been translbrred or sold to, or deposited    with,   a   third party;

              C     has been placed beyond the   jurisdiction of the court:

              D     has been substantiallv diminished in value: or

              E,    has been commingled    with other propefty which cannot be divided

                    without difficulty,




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the United States of America shall be entitled to forfeiture of substitute properry pursuant

to Title 21, United States Code, Section 853(p).


                                          A TRIIE BILL.


October 20 2021                           s/Foreperson
DATE                                      FOREPERSON OF THE GRAND JURY


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    II-IS REQUESI'ED I'IIAI"IIIE TRIAL   BE HELD IN KANSAS CITY, KANSAS




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                                     PENALTIES


Count 1: Conspiracy, l8 U.S.C.       S 371

       Punishable by a term of imprisonment of not more than five (5) years, 18 U.S.C.
       $ 371.

       A term ofsupervised release ofnot more than three (3) years. 18 U.S.C.   $
       3583(b)(2).

   a   A fine not to exceed $250,000. l8 U.S.C.    $ 3571(bX3).

   a   A mandatory special assessment of $100.00. l8 U.S.C. $ 3013(a)(2)(A).

   a   Forfeiture



Counts 2-8: Forced Labor,     l8   U.S.C. $ 1589

       Punishable by a term of imprisonment of not more than twenty (20) years. 18
       u.s.c. $ 1s8e(d).

       A term ofsupervised release ofnot more than three (3) years. 18 U.S.C. $
       3s83(bX2).

   a   A fine not to exceed $250,000. l8 U.S.C. $ 3571(bX3).

   a   A mandatory special assessment of $100.00. l8 U.S.C. $ 3013(aX2XA).

       A mandatory special assessment of $5,000. l8 U.S.C. $ 3014(a).

   a   F'orfeiture.




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